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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     Chapter 11
    In re:
                                                                     Case No. 23-11069 (CTG)
    YELLOW CORPORATION, et al.,1
                                                                     (Jointly Administered)
                                       Debtors.

    VERIFICATION OF JOHN D’AMICO IN SUPPORT OF THE FIRST INTERIM FEE
    APPLICATION OF MILLER BUCKFIRE FOR COMPENSATION FOR SERVICES
          RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED
      FROM AUGUST 21, 2023 THROUGH AND INCLUDING OCTOBER 31, 2023

             1.     I am a Managing Director of the firm Stifel, Nicolaus & Co., Inc. (“Miller

Buckfire”), which is headquartered at 501 North Broadway, St. Louis, Missouri 63102 and has its

principal investment banking office at 787 Seventh Avenue, New York, New York 10019.

             2.     I have personally performed many of the services rendered by Miller Buckfire to

the Official Committee of Unsecured Creditors (the “Committee”) of the above-captioned debtors

and debtors in possession, and I am familiar with the other work performed on behalf of the

Committee by Miller Buckfire.

             3.     The facts set forth in the foregoing fee application and its exhibits (collectively,

the “Fee Application”) are true and correct to the best of my knowledge, information and belief.

             4.     I have reviewed Rule 2016-2 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware and believe that the

Fee Application for Miller Buckfire complies with Rule 2016-2. To the extent there is any

inadvertant non-compliance, I ask that such non-compliance be excused.


1    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
     place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
     Overland Park, Kansas 66211.
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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



 Dated: December 22, 2023                           By: /s/ John D’Amico
 New York, New York                                     John D’Amico
                                                        Managing Director
                                                        Stifel, Nicolaus & Co., Inc.




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